                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:05cr390


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                    ORDER
                                         )
MONTAVIS ANTWANN McSWAIN (8)             )
________________________________________ )


        THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on the retroactive amendments to the United States Sentencing Guidelines

relating to crack cocaine. (Doc. No. 358).

        Prior to the imposition of the sentence, the government withdrew all but one of the

defendant’s prior convictions from the 21 U.S.C. § 851 Information. (Doc. No. 299: Notice). The

defendant was then sentenced to 120 months’ imprisonment pursuant to the mandatory minimum

sentence prescribed in 21 U.S.C. § 841(b)(1)(B), based on his plea to possession with intent to

distribute 5 grams or more of a mixture and substance containing cocaine base. (Doc. No. 56:

Superseding Indictment; Doc. No. 323: Judgment; Doc. No. 333: Tr. at 13, 25). Accordingly, the

change in the guidelines does not affect the defendant’s sentence. Neal v. United States, 516 U.S.

284, 296 (1996) (retroactive amendment to guidelines does not alter statutory mandatory

minimum).

        IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.




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       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                 Signed: November 18, 2008




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